Case 2:04-cr-20183-SH|\/| Document 172 Filed 08/09/05 Page 1 of 2 Page|D 200

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IN TI-[E UNITED STATES DISTRICT COURT ~ D.C.
FOR TI~IE WESTERN DISTRICT OF TENNESSEE 05 AUG

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UNITED STATES OF AMERlCA, Uz€ U. 3 _L`}V RYPUM

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Plaintiff,
vs. Case No. 2:04cr20183-D

Jonathan R. Carr

 

ORDER REFUNDING CASH APPEARANCE BOND

 

This matter comes before the Court on a motion for refund of the cash appearance bond.
It now appears that the defendant has complied with the requirements of said bond and orders of
this Court.

IT IS THEREFORE ORDERED that the appearance bond for this defendant be canceled
and discharged; and the Clerk is directed to issue a check on the Registry in the sum of $500.00,
payable to Royce G. Carr at # 3 Cypress St., Wilson, AR 72395 in full refund of the cash appearance

bond posted herein.

 

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Date: f’g@$

Approved.

Tho G.ould, Clerk of Court

Deputj/Clerk U

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Notice of Distribution

This notice confirms a copy of the document docketed as number 172 in
case 2:04-CR-20183 Was distributed by faX, mail, or direct printing on
August 11, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

